Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 1 of 14 PageID: 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 TRADESTREAM ANALYTICS, LTD.,                      Civil Action No.

                Plaintiff,

 V.
                                                              VERIFIED COMPLAINT
 EQUINIX, INC. and EQUINIX, LLC

                Defendants




       Plaintiff, TradeStream Analytics, Ltd., by way of Complaint against Defendants Equinix,

Inc. and Equinix, LLC, alleges as follows:

                                             PARTIES

        1.     Plaintiff TradeStream Analytics, Ltd. ("TradeStream") is a Delaware corporation

with its principal place of business at 755 Secaucus Road, Secaucus, New Jersey. Plaintiff is in

the business of providing financial software solutions and trading platforms.

       2.      Defendants Equinix, Inc. and Equinix LLC (collectively "Equinix") are Delaware

corporations doing business in New Jersey. Equinix provides co-location services for data centers,

among other things.



                                 JURISDICTION AND VENUE

       3.      This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331 and 28

U.S.C. § 1367(a) because one or more of TradeStream's causes of action arise from the Sherman

Act, 15 U.S.C. § 1 et seq., a federal law.
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 2 of 14 PageID: 2




       4.      This Court has jurisdiction over this case pursuant to 15 U.S.C. § 15 which

authorizes the federal courts to hear claims arising out of violations of the antitrust laws.

       5.      This action is properly venued in this Court pursuant to 28 U.S.C. § 1391 because

TradeStream's principal place of business is in New Jersey, Equinix does business in New Jersey,

and the events giving rise to the causes of action took place in New Jersey.

       6.      This action is properly venued in this Court pursuant to 15 U.S.C. § 15(a) because

Equinix does business in New Jersey and therefore "is found" in New Jersey.



                             FACTS COMMON TO ALL COUNTS

       7.      TradeStream provides, among other things, a trading platform to its customers,

which it hosts on servers with a low latency data connection. Trading platforms connect to

Trade Stream's Back Office, an algorithmic trading and smart routing management application that

routes via low latency data connections to numerous trading destinations in the financial stock and

option markets.

       8.      In TradeStream's business, having the lowest latency possible for trades is crucial,

as customers seek to make their trades as quickly as possible and in response to rapid price

changes. A server with substantial bandwidth and low latency allows customers to execute their

trades faster and more efficiently.

        9.     If a trading platform is too slow to route to trading destinations, customers will seek

another platform to make their trades.

        10.    TradeStream's core business relies on having low latency access to stock and

options trading destinations. Those "trading destinations" include both exchanges and so-called

non-exchange destinations, such as the electronic trading engines of banks, brokerage institutions,


                                                  2
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 3 of 14 PageID: 3




and major hedge funds. Without low latency access, TradeStream would be unable to conduct its

business of smart routing to those trading destinations.

       11.     Equinix operates multiple data centers at 755 Secaucus Road, Secaucus,

collectively known as "NY4", where it provides co-location services. Co-location facilities allow

a customer to rent space for servers in close proximity to the electronic trading destinations. The

range of services provided by Equinix at NY 4 includes providing power for the servers, cooling

for the servers, access to the data center's bandwidth, and physical security.

       12.     Equinix offers cross-connects to major securities exchanges and non-exchange

trading destinations co-located at NY4 for even lower latency.

       13.     The financial exchange "ecosystem" created by Equinix arose only during the past

several years and is unprecedented in United States business and securities trading history.

Equinix's acquisition of data centers operating the NASDAQ Exchange and numerous other

exchanges has occurred very quietly, with little or no public notice or discussion.

       14.     For example, a recent press release by Equinix touting the acquisition of 29 data

centers from Verizon in December 2016 failed to mention that adding those data centers would

substantially increase the control oflow-latency access to the trading volume of stocks and options

in the United States.

       15.     Unless one uses Equinix' s services, there is no other low latency access available

to the NASDAQ Exchange ("NASDAQ"), Boston Stock Exchange ("BOX"), Philadelphia Stock

Exchange ("PHLX") International Securities Exchange Holdings, Inc. ("ISE"), BATS Trading,

EDGA Exchange and EDGX Exchange, the Chicago Board Options Exchange ("CBOE") or the

Miami Stock Exchange ("MIAX") for stocks and options.




                                                 3
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 4 of 14 PageID: 4




        16.    Equinix access to these markets represents approximately 85% of the daily options

volume and about 66% of the exchange-listed stock volume.

        17.    Except for the New York Stock Exchange ("NYSE") equities and options,

Equinix actually controls 100% low-latency access to all stock and options markets.

        18.    If the other trading destinations domiciled at NY4 are included, (i.e., JP Morgan,

Bank of America, Morgan Stanley, etc.), Equinix controls access 75% of the daily stock volume

traded in the United States, or almost 5 billion shares per day.

        19.    For example, CBOE is the largest options exchange in the world. CBOE co-locates

at the Equinix NY 4 data centers on an "exclusive" basis. By providing Equinix with an exclusive

co-location arrangement, the CBOE provides Equinix with a monopoly over low-latency access

to its exchange services.

       20.     The same exclusive relationship exists for all other options exchanges except for

NYSE options; thus Equinix controls low-latency access to 85% of the daily option trading

volume.

       21.     Upon information and belief, Equinix has other exclusive arrangements with other

financial exchanges or non-exchange trading destinations, not only in the United States, but also

worldwide.

       22.     Equinix controls 100% oflow latency access to non-exchange trading destinations.

       23.     In effect, Equinix currently controls access to almost 100% of all stock volume

except for NYSE, which amounts to roughly 5 billion shares per day or 75% of all volume traded

in the United States.




                                                  4
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 5 of 14 PageID: 5




       24.     Equinix controls sole access to NASDAQ, MIAX, ISE, PHLX, BOX, CBOE, ISE,

BATS, and EDGE options exchanges, representing 100% of the low latency access to these

exchanges and 85% of the entire trading volume in the United States.

       25.     In 2014, Equinix and TradeStream entered into an agreement for services at NY4.

Among other things, TradeStream rented server space within a "cage," wherein TradeStream

would have an exclusive physical space for its servers, blocked off by mesh walls.

       26.     Thereafter, TradeStream installed and began operating its own servers within the

cage rented from Equinix.

       27.     The servers within the cage are the property of TradeStream.

       28.     In September and October 2016, TradeStream sought to upgrade its equipment by

installing new servers and cables on behalf of several customers requiring low-latency access.

Upon completion of the installation, the customer's routing and execution volume would generate

an additional $300,000 in revenues per month.

       29.     TradeStream spent over $120,000 for new state-of-the-art servers and equipment

in September 2016, to be installed at Equinix.

       30.     By early November, TradeStream had already installed most of the new equipment,

but required additional fiber cables with special connections to wire the remaining 32 servers that

had not been installed yet.

       31.     TradeStream sent a large order of cables to the Equinix facility to complete the

installation and upgrade. The cables were intended to be used to cross-connect two new switches

to the new servers and replace slower copper cables.

       32.     At the time, TradeStream was current on its accounts to Equinix.




                                                 5
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 6 of 14 PageID: 6




       33.      On November 18, 2016, Equinix confirmed that it would receive, a shipment from

TradeStream, by United States Postal Service ("USPS"), of 60 fiber cables to TradeStream's space

rented from Equinix. The shipment was scheduled for November 19, 2016.

       34.      Equinix refused the delivery on November 19, 2016. After TradeStream informed

Equinix of the improper refusal, Equinix assured TradeStream that it would receive the package

if delivery was rescheduled.

       35.      The delivery was then rescheduled for November 21, 2016. Equinix then refused

the November 21, 2016 redelivery. In the past, Equinix had always permitted delivery by USPS.

       36.      Because the installation required very sophisticated programming of the switches,

only an agent of TradeStream with expertise could perform the installation, TradeStream's agent

would be required to be on premises, and the installation could only be performed when the trading

market is closed, ideally during the weekend. These constraints limited the window of opportunity

to perform the upgrade.

       37.      From November 19, 2016 to November 22, 2016, when the cables were originally

scheduled to be delivered, an agent ofTradeStream had flown in to New Jersey to install the cables

and switches.

       38.      In addition to the damages suffered by TradeStream from the wasted travel, time

and associated costs, Equinix caused injury to TradeStream by preventing TradeStream from

improving its service to its customers.

       39.      Because of the events described above, TradeStream disputed the November

invoice, which was payable November 30, 2016.

       40.      TradeStream attempted to resolve the problems with Equinix through several

communications, but Equinix provided inconsistent responses, including statements that the goods


                                                6
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 7 of 14 PageID: 7




were delivered, that management approval was required for deliveries, and that the facility did not

handle USPS deliveries at all. In one telephonic communication, a representative of Equinix stated

that Equinix would provide credits to TradeStream for the misunderstanding. No credit was

provided.

        41.        Due to difficulties in scheduling, a representative of TradeStream was not able to

visit the Equinix facility again until late January. When Equinix rejected the shipments, Equinix

was aware and notified of the fact that a representative would not be able to visit the facility again

until that time.

        42.        Nonetheless, by January 9, 2017, Equinix had locked TradeStream out of its cage

citing TradeStream's failure to pay the November invoice for services that TradeStream did not

owe.

        43.        In December and January, Equinix also rejected three later shipments to the facility

to further upgrade its servers. Equinix sent back the shipments to the senders, who are major

exchanges (such as the Chicago Stock Exchange), further embarrassing TradeStream with its

customers.

        44.        As a result of being locked out and not receiving the deliveries, TradeStream has

not been able to install the cables and upgrade its systems, or physically access its servers. Because

TradeStream had already removed its older components, only one rack of servers out of five is

currently operational.

        45.        As a result of not being able to install the cables, Trade Stream has suffered at least

a $25,000 monthly loss of revenue since mid-December. Contracts that would increase revenues

an additional $300,000 per month had to be put on hold in early February. Additional contracts

are now pending, but Tradestream has no ability to execute such contracts due to its lack of access


                                                      7
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 8 of 14 PageID: 8




to its servers. As a result, the servers were not able to be configured with the new cables, and

Tradestream has lost over $1.2 million in revenue since February, and climbing at the rate of

$300,000 per month.

       46.      On March 13, 2017, TradeStream's CEO and its attorney attempted to enter the

cage, and were denied, even though TradeStream's property is in the cage.

       47.      Since Equinix refused delivery of the cables in November, TradeStream has

attempted to resolve the situation amicably. At this date, Equinix is no longer responding to

TradeStream's or its counsel's calls or emails.

       48.      Equinix has indicated that it intends to lock TradeStream out of the NY4 facilities

in the immediate future.

       49.      Being prevented from using Equinix' s NY 4 facilities would result in a delay of a

minimum of 5 to 10 milliseconds in routing and executing trades. This delay is unacceptable to

financial firms that do business with TradeStream or would consider doing business with

Trade Stream.

       50.      During the months of December through May 2017, Equinix has continued to

invoice for services that have not been received. Such services include power to the cage and rack

space. By not allowing the installation to be completed, Tradestream has only used 20% of the

space and 20% of the power. Nevertheless, despite disputing such invoicing, Equinix continues

to invoice and attempt to collect for services not received due to Equinix's actions of preventing

the server installations from being completed.

       51.      At the time when Equinix began denying TradeStream access to the servers,

TradeStream was paid on time and current with all invoices.




                                                  8
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 9 of 14 PageID: 9




       52.     To this day, Equinix will not explain why they sent back 4 shipments when

Tradestream was in the middle of a major server and switch upgrade, thus causing TradeStream's

network to be compromised.

       53.     Equinix refuses to deal with its customers routine customer complaints, and does

so by reason of its monopoly position because Equinix knows that its customers cannot obtain

services from any other service provider.



                                           COUNT ONE
                                  (Violation of the Sherman Act)

       54.     TradeStream repeats and re-alleges the allegations of Paragraphs 1 through 53

above as if they were fully stated herein.

       55.     Equinix maintains a monopoly over low latency access and co-location to major

trading destinations.

       56.     For independent trading destinations other than NYSE, Equinix effectively controls

100% of the low latency access.

       57.     Equinix controls sole access to NASDAQ, BOX, MIAX, PHLX, CBOE, ISE,

BATS, and EDGE options exchanges, representing 100% of the low latency access to these

exchanges.

       58.     Equinix effectively controls 100% of the access to stock and option markets via

geographically central fiber connection links (known as POP links) to the NYSE.

       59.     All in all, Equinix controls direct low latency access to approximately 75% of all

stock trading and 85% of all options trading in the United States through NY4. This number is

100% for both options and stock trading volume if the current POP links are included.




                                                9
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 10 of 14 PageID: 10




        60.     Due to the monopoly on access maintained by Equinix, it is effectively impossible

 to do business anywhere else.

        61.     Low-latency access is an "essential facility" for the conduct of TradeStream's

 business. TradeStream's customers, many of whom are members of the very securities exchanges

 that Equinix controls low latency access to, require connectivity inside NY4 because of Equinix's

 monopoly of low-latency access to financial exchanges.

        62.     Co-location is an "essential facility" for the conduct of TradeStream's business.

        63.     The unique combination oflow latency access and co-location provided by Equinix

 cannot be obtained elsewhere.

        64.     TradeStream is unable to obtain the same combination of co-location and low

 latency access provided by Equinix from any other provider. Using any provider other than

 Equinix would result in delays of 5 to 10 milliseconds minimum, which will cause TradeStream

 to lose its current business and be unable to attract new business.

        65.     IfTradeStream is forced to use a provider other than Equinix, TradeStream's ability

 to do business will be destroyed.

        66.     Equinix, by its actions, has wrongfully refused to deal with TradeStream and has

 denied TradeStream use of its essential facilities.

        67.     Equinix, by its actions, has violated Section 2 of the Sherman Act.

        68.     TradeStream has been injured by Equinix's actions.          Among other things,

 TradeStream has suffered at least a $25,000 monthly loss of revenue since mid-December 2016,

 and $300,000 monthly since February 2017.

        69.     TradeStream will suffer irreparable injury if Equinix is permitted to continue its

 unlawful conduct.



                                                   10
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 11 of 14 PageID: 11




        70.     TradeStream will suffer irreparable injury if it is locked out of the NY 4 facilities

 and denied access to its servers.

        71.     Monetary damages are insufficient to repair TradeStream's relationships with its

 customers, as the current inability to provide a high bandwidth, low latency connection is harming

 Trade Stream's reputation.

        WHEREFORE, TradeStream seeks entry of judgment in favor ofTradeStream and against

 Equinix, Inc. and Equinix LLC:

        (a)     enjoining Equinix from violating the Sherman Act by denying TradeStream

                access to essential facilities;

        (b)     awarding treble damages as authorized in 15 U.S.C. § 15(a);

        (c)     awarding reasonable attorneys' fees and costs of suit, as authorized in 15 U .S.C.

                § 15(a); and

        (d)     awarding such other relief as the Court deems just and proper.


                                        COUNT TWO
              (Intentional Interference with Prospective Economic Advantage)

        72.     TradeStream repeats and re-alleges the allegations of Paragraphs 1 through 71

 above as if they were fully stated herein.

        73.     TradeStream has a protectable interest in the economic gains from its customers

 paying for Trade Stream's services.

        74.     Trade Stream has a reasonable expectation that its customers would use the platform

 because of TradeStream's ability to provide a high bandwidth, low latency connection for trades.

        75.     Equinix interfered with TradeStream's business when it denied the shipments for

 its faster, server-compatible cables and when Equinix locked TradeStream out of TradeStream

 cage, thus preventing TradeStream from completing the upgrade and installation ofits new servers.
                                                  11
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 12 of 14 PageID: 12




 Because Equinix interfered, the speed and the ability to use TradeStream' s servers has been

 substantially reduced.

         76.     Because TradeStream's customers rely on TradeStream's ability to provide low

 latency access as well as high bandwidth for timely, efficient executions and other co-location

 related services, the inability to increase the bandwidth of the servers and provide contracted co-

 location services has resulted in the loss of customers using TradeStream's platform.

         77.     Monetary damages are insufficient to repair TradeStream's relationships with its

 customers, as the current inability to provide a high bandwidth, low latency connection is harming

 Trade Stream's reputation.

         78.     Equinix intentionally prevented TradeStream from performing the installation and

 knew that denying TradeStream the ability to upgrade would significantly impact TradeStream's

 business.

         79.     Equinix had no justification or excuse for denying the shipments and locking

 TradeStream out of its cage.

         80.     Equinix acted knowingly, maliciously and in wanton and willful disregard to

 TradeStream's rights.

         WHEREFORE, TradeStream seeks entry of judgment in favor ofTradeStream and

 against Equinix, Inc. and Equinix LLC:

         (a)     awarding compensatory damages;

         (b)     awarding consequential damages;

         (c)     awarding punitivedamages

         (d)     enjoining Equinix from interfering with the delivery of goods to TradeStream;

         (e)     enjoining Equinix from interfering with TradeStream's personnel's access to the



                                                 12
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 13 of 14 PageID: 13




                area licensed to Tradestream; and

        (f)     awarding such other relief as the Court deems just and proper.


                                                COUNT
                                                THREE
                                              (Conversion)

        81.     Trade Stream repeats and re-alleges the allegations of Paragraphs 1 through 80

 above as if they were fully stated herein.

        82.     The servers, cables, switches and other equipment, and the data thereon located

 inside Equinix's cage are the property of TradeStream.

        83.     Equinix locked TradeStream out of the cage in which the equipment is located.

        84.     By locking TradeStream out of the cage, Equinix has repudiated TradeStream's

 rights and wrongfully exercised dominion over TradeStream'sproperty.

        85.     Equinix acted knowingly, maliciously and in wanton and willful disregard to

 TradeStream's rights.

        WHEREFORE, TradeStream seeks entry of judgment in favor of TradeStream and

  against Equinix, Inc. and Equinix LLC:

        (a)     awardingcompensatory damages;

        (b)     awarding consequential damages;

        (c)     awarding punitive damages;

        (d)     enjoining Equinix from interfering with the delivery of goods to TradeStream

        (e)     enjoining Equinix from interfering with TradeStream's personnel's acces to the

                area licensed to Tradstream;

        (f)     awarding such other relief as the Court deems just and proper.




                                                  13
Case 2:17-cv-04765-KSH-CLW Document 1 Filed 06/28/17 Page 14 of 14 PageID: 14




 Dated: June 28, 2017
                                    JARD IM MEISNER & SUSSER, P .C.
                                    30B Vreeland Rd., Suite 201
                                    Florham Park, NJ 07932
                                    Tel. 973-845-7640
                                    Fax 973-845-7645
                                    Attorneys for Plaintiff



                                    By:    l
                                           RICHARD MEISNER
                                           ALISSA PYRICH




                                      14
